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                  UNITED STATES COURT OF INTERNATIONAL TRADE


                                                      )
MTD Products Inc,                                     )
                                                      )
                 Plaintiff,                           )
                                                      )       Case No. 21-00264
       v.                                             )
                                                      )
United States,                                        )
                                                      )
                 Defendant,                           )
                                                      )




                                           COMPLAINT

       Plaintiff MTD Products Inc (“MTD” or “Plaintiff”) by and through undersigned counsel,

alleges and states as follows:

                                        I. JURISDICTION

       1.        Plaintiff brings this action pursuant to section 516a of the Tariff Act of 1930, as

amended (19 U.S.C. §§ 1516a(a)(2)(A)(i)(II) and 1516a(a)(2)(B)(i)), which provides that certain

final determinations on the record are reviewable by this Court.

       2.        This action is an appeal of the final affirmative determination of critical

circumstances by the International Trade Commission (the “Commission”) under 19 U.S.C. §§

1671d and 1673d as implemented in the antidumping duty order and countervailing duty order on

certain small vertical shaft engines from the People’s Republic of China (case nos. A-570-124/731-

TA-1493; C-570-125/701-TA-643) covering shipments of subject merchandise during the time

period from July 23, 2020 through October 20, 2020 (A-570-124/731-TA-1493) and May 26, 2020


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through August 23, 2020 (C-570-125/701-TA-643). See Certain Vertical Shaft Engines Between

99cc and Up to 225cc, and Parts Thereof From the People’s Republic of China: Antidumping and

Countervailing Duty Orders, 86 Fed. Reg. 23675 (May 4, 2021) (the “Antidumping and

Countervailing Duty Orders”); see also Small Vertical Shaft Engines From China, 86 Fed. Reg.

22975 (Apr. 30, 2021).

       3.       This Court has exclusive jurisdiction over this action pursuant to 28 U.S.C. §

1581(c), which provides jurisdiction over civil actions commenced under 19 U.S.C. § 1516a.

                                II. STANDING OF PLAINTIFF

       4.       Plaintiff MTD is a U.S. importer of certain small vertical shaft engines between

99cc and up to 225cc and parts thereof (“small vertical shaft engines”) from the People’s Republic

of China (“China”). As such, Plaintiff is an interested party within the meaning of 19 U.S.C. §§

1677(9)(A) and 1516a(f)(3), and 28 U.S.C. § 2631(k)(1). Plaintiff also filed case briefs and

submitted factual information and otherwise participated fully in the underlying administrative

proceeding that led to the factual findings and legal conclusions being challenged in this action.

Accordingly, Plaintiff was a “party to the proceeding” and, therefore, has standing to commence

this action pursuant to 19 U.S.C. § 1516a(d) and 28 U.S.C. § 2631(c).

                             III. TIMELINESS OF THIS ACTION

       5.       Plaintiff filed this action by filing the Summons on May 27, 2021 within thirty (30)

days after the United States Department of Commerce (the “Department”) published the

Antidumping and Countervailing Duty Orders in the Federal Register. See Antidumping and

Countervailing Duty Orders, 86 Fed. Reg. 23675 (May 4, 2021). Plaintiff is filing this complaint

on May 28, 2021, within 30 days after filing the summons. Accordingly, this action is timely filed

under 19 U.S.C. § 1516a(a)(2)(A)(i)(II) and 28 U.S.C. § 2636(c) and Rule 3 of this Court.


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                               IV. FACTUAL ALLEGATIONS

       6.       This case involves the antidumping duty (“AD”) order and countervailing duty

(“CVD”) order on small vertical shaft engines from China issued in connection with case nos. A-

570-124/731-TA-1493 and C-570-125/701-TA-643, respectively.

       7.       On April 30, 2021, the Commission made determinations that an industry in the

United States is materially injured by reason of imports of small vertical shaft engines from China

to be sold in the United States at less than fair value and subsidized by the government of China.

Small Vertical Shaft Engines from China, 86 Fed. Reg. 22975 (Apr. 30, 2021).

       8.       On April 30, 2021, the Commission also found that imports subject to the

Department’s affirmative critical circumstances determinations are likely to undermine seriously

the remedial effect of the AD and CVD orders on small vertical shaft engines from China and, as

a result, certain imports from China will be subject to retroactively imposed antidumping duties

and countervailing duties. Id. See also Antidumping and Countervailing Duty Orders, 86 Fed. Reg.

at 23675-76.

       9.       On May 4, 2021, the Department issued the Antidumping and Countervailing Duty

Orders covering retroactively shipments of subject merchandise imported between July 23, 2020

and (up to and including) October 20, 2020 (A-570-124) and between May 26, 2020 and (up to

and including) August 23, 2020 (C-570-125), i.e., 90 days prior to the Department’s preliminary

determinations issued on October 21, 2020, and August 24, 2020, respectively. See Antidumping

and Countervailing Duty Orders, 86 Fed. Reg. 23675 (May 4, 2021); see also Certain Vertical

Shaft Engines Between 99cc and Up To 225cc, and Parts Thereof, from the People's Republic of

China: Preliminary Affirmative Determination of Sales at Less Than Fair Value, and Preliminary

Affirmative Determination of Critical Circumstances, in Part, 85 Fed. Reg. 66932 (Oct. 21, 2020);



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Certain Vertical Shaft Engines Between 99cc and up to 225cc, and Parts Thereof, From the

People's Republic of China: Preliminary Affirmative Countervailing Duty Determination and

Alignment of Final Determination With Final Antidumping Duty Determination, 85 Fed. Reg.

52086 (Aug. 24 2020).

                                 V. STATEMENT OF CLAIMS

                                           COUNT ONE

       10.     Plaintiffs incorporate by reference the allegations and facts set forth in paragraphs

1 through 9 above as if set forth fully herein.

       11.     The Commission’s final affirmative determination of critical circumstances as

implemented in the Antidumping and Countervailing Duty Orders is unsupported by substantial

evidence and otherwise is not in accordance with law as discussed below.

       12.     The import volume and inventories subject to the Department’s affirmative critical

circumstances determination have not in fact increased by such a magnitude that they could

undermine seriously the remedial effect of the Antidumping and Countervailing Duty Orders under

19 U.S.C. §§ 1671d(b)(4)(A) and 1673d(b)(4)(A), as determined by the Commission.

       13.     The Commission has explained that, “the plain meaning of the term ‘undermine

seriously’ establishes a very high standard: that the surge in imports greatly and insidiously

weakens or subverts the effects of the order.” See Statement of Administrative Action (“SAA”) to

the Uruguay Round Agreements Act, H.R. Rep. No. 103-316, at 877 (1994); see also Certain

Preserved Mushrooms from China, India, and Indonesia, Inv. Nos. 731-TA-777-779 (Final),

USITC Pub. 3159, at 27-28 (Feb. 1999) (views of Chairman Bragg, Commission Crawford, and

Commissioner Askey).




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        14.     The record of the present investigation demonstrates that foreign producers could

not manufacture subject merchandise for a significant portion of the pre-petition period due to

COVID-19-related plant closures and, in turn, the post-petition entries at issue reflect imports

made after foreign producers restarted production and began fulfilling pre-petition orders. Further,

COVID-19-related closures in the United States, in addition to commercial uncertainties regarding

Petitioner’s long-term viability and inability to meet a spike in domestic demand artificially

inflated import volumes over this period.         These extraordinary circumstances significantly

distorted both the timing and volume of imports over the post-petition period, the first two factors

the Commission must consider when making a finding of critical circumstances under 19 U.S.C.

§§ 1671d(b)(4)(A) and 1673d(b)(4)(A).

        15.     Further, the Commission failed to consider other factors or “circumstances

indicating that the remedial effect of the {order} will be seriously undermined” as required by 19

U.S.C. §§ 1671d(b)(4)(A) and 1673d(b)(4)(A). The record demonstrates that MTD had drawn

down most of its import inventory from this period – built specifically for MTD’s use – by the

fourth quarter of 2020, which contravenes any alleged inventory overhang which might impact

MTD’s future supply needs. Indeed, after the imposition of provisional measures, MTD imported

significantly fewer subject engines and purchased significantly more domestically-produced

engines in the fourth quarter of 2020 than in the same period in 2019. Further, MTD consummated

a new supply arrangement with Petitioner that includes significant price increases in 2021, despite

its ongoing inability to meet demand. See MTD’s Pre-Hearing Brief at Exhibit 6, para. 10. It is

not evident, therefore, that the artificially inflated level of subject imports entered after the filing

of the petition have supplanted sales for the domestic industry.




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       16.    Therefore, the record evidence does not meet the very high standard that the imports

at issue greatly and insidiously weakened or subverted the effects of the Antidumping and

Countervailing Duty Orders. To the contrary, the record indicates that the extremely high duties

have conferred a de facto monopoly to Petitioner from the time duties were first imposed.

                                    VI. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that this Court enter judgment against

Defendant and award the following relief:

   a. Hold that the Commission’s affirmative finding of critical circumstances was

       unsupported by substantial evidence and otherwise not in accordance with law.

   b. Remand this matter with instructions to revise the Commission’s final determination and

       the Department’s Antidumping and Countervailing Duty Orders consistent with the

       findings of the Court; and

   c. Grant Plaintiff such further and additional relief as this Court may deem just and proper.



                                            Respectfully submitted,

                                            /s/ Alexander Schaefer

                                            Alexander Schaefer

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Dated: May 28, 2021


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                                 CERTIFICATE OF SERVICE

Pursuant to Rule 3(f) of the Court of International Trade, I, Alexander Schaefer, hereby certify that
I have caused copies of the Summons, Complaint, Form 5, Form 11, Form 13, and Form 17 in Ct.
No. 21-00264, be served upon the parties in the administrative proceeding, by the U.S. certified
mail, return receipt requested.

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May 28, 2021                                                        s/Alexander Schaefer
